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24
                        UNITED STATES DISTRICT COURT
25
26                     CENTRAL DISTRICT OF CALIFORNIA

27
     PINKETTE CLOTHING, INC., a                  Case No. 15-CV-04950-SJO-AJW
28
     LUS02-01:1857137_1:12-30-16                 -i-
           DEFENDANT’S REPLY IN SUPPORT OF DEFENDANT’S MOTION IN LIMINE NO. 8 TO EXCLUDE
        TESTIMONY FROM DR. HIBBARD REGARDING THE LEGAL RELEVANCE OF DR. JOACHIMSTHALER’S
                                            TESTIMONY
Case 2:15-cv-04950-SJO-AJW Document 170 Filed 12/30/16 Page 2 of 5 Page ID #:7571



 1 California corporation,
                                                 DEFENDANT’S REPLY IN SUPPORT
 2                     Plaintiff,                OF DEFENDANT’S MOTION IN
 3                                               LIMINE NO. 8 TO EXCLUDE
                       vs.                       TESTIMONY FROM DR. HIBBARD
 4                                               REGARDING THE LEGAL
   COSMETIC WARRIORS LIMITED,                    RELEVANCE OF DR.
 5 believed to be a United Kingdom limited       JOACHIMSTHALER’S TESTIMONY
 6 company doing business as LUSH
   HANDMADE COSMETICS, and DOES 1-
 7 9, inclusive,                           Date: January 24, 2017
                                           Time: 9:00 a.m.
 8               Defendants.               Place: 10C
 9
10                                               Complaint Filed: June 30, 2015
                                                 Trial Date:      January 24, 2017
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     LUS02-01:1857137_1:12-30-16                 - ii -
           DEFENDANT’S REPLY IN SUPPORT OF DEFENDANT’S MOTION IN LIMINE NO. 8 TO EXCLUDE
        TESTIMONY FROM DR. HIBBARD REGARDING THE LEGAL RELEVANCE OF DR. JOACHIMSTHALER’S
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 1 I.         INTRODUCTION
 2            Dr. Jonathan Hibbard’s opinions about the legal relevancy of the opinions of Dr.
 3 Erich Joachimsthaler (CWL’s expert) are improper, unhelpful, and prejudicial.
 4 Pinkette Clothing Inc. (“Pinkette”) attempts to blur the lines between Hibbard’s
 5 various opinions in his report, stating Hibbard should be allowed to counter
 6 Joachimsthaler’s opinions as to the strength of the LUSH brand. While it is true that
 7 Hibbard may rebut Joachimsthaler’s opinions and opine that Joachimsthaler is wrong,
 8 Hibbard may not testify that Joachimsthaler’s opinions are legally irrelevant. It is the
 9 Court’s duty to instruct the jury on the law, and what the relevant standard is, not
10 Hibbard’s.
11 II.        HIBBARD’S TESTIMONY ON THE ISSUE OF LEGAL RELEVANCE IS
12            IMPROPER, UNHELPFUL AND PREJUDICIAL
13            Pinkette’s opposition sets forth three unavailing arguments to avoid exclusion of
14 part of Hibbard’s proposed testimony. The first argument is that the Hibbard Report
15 concerns the “relevancy of Dr. Joachimsthaler’s opinions with regard to the specific
16 2003-2004 time period and not with regard to whatever legal standard the Court may
17 apply.”         (Pinkette Opposition (hereinafter “Opp.”) (filed under seal) at 2.)    This
18 argument is a distinction without meaning. At trial, counsel for Pinkette will simply
19 ask Hibbard about Joachimsthaler’s opinions. As previewed in his report at paragraphs
20 12-53, Hibbard will respond that Joachimsthaler’s opinions on the strength of CWL’s
21 LUSH brand are not relevant under the law in this case because Joachimsthaler’s cited
22 evidence allegedly did not focus on the time period of 2003-2004, which he believes is
                                                                1
23 the proper time period based on his understanding of the law. Hibbard will essentially
24 be telling the jury what the law should be, and that they should disregard
25 Joachimsthaler’s opinions in view of that law. This type of testimony is not proper.
26   1
     CWL disagrees with this position, as set forth in CWL’s Opposition to Pinkette’s
27 Motion to Exclude Expert Testimony, Report and, Opinions of Expert Witness Erich
   Joachimsthaler. (Doc. No. 149.)
28
     LUS02-01:1857137_1:12-30-16                  -1-
            DEFENDANT’S REPLY IN SUPPORT OF DEFENDANT’S MOTION IN LIMINE NO. 8 TO EXCLUDE
         TESTIMONY FROM DR. HIBBARD REGARDING THE LEGAL RELEVANCE OF DR. JOACHIMSTHALER’S
                                             TESTIMONY
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 1            Second, Pinkette argues that Hibbard is allowed to testify about his
 2 understanding and application of a particular legal standard. But here, Hibbard will go
 3 one step further and opine about the relevancy under the law of Joachimsthaler’s
 4 opinions under what Pinkette claims is the applicable legal standard. The cases cited
 5 in CWL’s initial brief in support of this motion excluded testimony about the
 6 relevancy under the law of evidence or another expert’s opinions because such
 7 testimony is improper. (See Doc. No. 119 at 4.)
 8            The cases cited by Pinkette, Villalpando and Hangarter, do not support the
 9 position that an expert can opine on the legal significance (i.e., relevance) of another
10 expert’s opinions, or other facts in the case. For example, in Villalpando v. Exel
11 Direct Inc., 161 F. Supp. 3d 873, 895 (N.D. Cal. 2016), the Court allowed a damages
12 expert to testify that he had been asked to make certain assumptions as to what
13 expenses were recoverable and/or what deductions were allowable under the law, but
14 did not allow that expert to testify as to the legal basis for those assumptions. Id. In
15 Hangarter v. Provident Life and Accident Insurance Co., 373 F.3d 998, 1017 (9th Cir.
16 2004), the expert was allowed to testify that the defendants deviated from industry
17 standards, which the jury used to support a finding that the defendant acted in bad
18 faith. An expert can opine on industry standards. An expert cannot instruct the jury on
19 the law. Here, Hibbard improperly intends to instruct on the law and tell the jury that
20 it should disregard Joachimsthaler’s opinions because he applied the wrong law.
21 Neither of Pinkette’s cited cases address such a situation. And such testimony is
22 improper.
23            Pinkette’s third argument is that the challenged Hibbard opinions in paragraphs
24 12-53 of the Hibbard Report “directly rebut the position taken by Dr. Joachimsthaler”
25 that the LUSH brand was strong in 2003. This is a mischaracterization of Hibbard’s
26 report. Hibbard’s substantive rebuttal of Joachimstaler’s views on the strength of the
27 LUSH brand is found in the second half of the Hibbard Report (¶¶ 54-109), which is
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     LUS02-01:1857137_1:12-30-16                 -2-
           DEFENDANT’S REPLY IN SUPPORT OF DEFENDANT’S MOTION IN LIMINE NO. 8 TO EXCLUDE
        TESTIMONY FROM DR. HIBBARD REGARDING THE LEGAL RELEVANCE OF DR. JOACHIMSTHALER’S
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Case 2:15-cv-04950-SJO-AJW Document 170 Filed 12/30/16 Page 5 of 5 Page ID #:7574



 1 unchallenged in this motion.           CWL is not seeking to prevent Hibbard from
 2 substantively challenging Joachimsthaler’s opinions. As Hibbard acknowledged at his
 3 deposition, the only purpose of paragraphs 12-53 was to explain that Joachimsthaler’s
 4 opinions were based on the wrong time period according to what Hibbard was told is
 5 the applicable law. More problematic is that what Hibbard was told about the law was
 6 wrong. Thus, he not only tries to improperly invade the province of the Court by
 7 instructing the jury on the law, but also tries to instruct the jury on legal standards that
 8 are not correct.
 9 IV. CONCLUSION
10            For all the reasons stated, CWL respectfully requests the Court grant its motion
11 to exclude Hibbard’s opinions regarding the legal relevance of Dr. Joachimsthaler’s
12 testimony.
13
14 Dated: December 30, 2016                  CALL & JENSEN
                                             A Professional Corporation
15                                           Deborah A. Gubernick
16
                                             By: /s/ Deborah A. Gubernick
17                                               Deborah A. Gubernick
18                                           Attorneys for Defendant
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     LUS02-01:1857137_1:12-30-16                 -3-
           DEFENDANT’S REPLY IN SUPPORT OF DEFENDANT’S MOTION IN LIMINE NO. 8 TO EXCLUDE
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